      Case 2:21-cv-01002-AMM Document 133-4 Filed 02/01/24 Page 1 of 1                    FILED
                                                                                 2024 Feb-01 PM 02:24
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

SAMANTHA HARDIN,                                    }
MONEKA CHANTE MOORE as                              }
PERSONAL REPRESENTATIVE FOR                         }
THE ESTATE OF JAMARCUS MOORE                        }
                                                    }      CASE NO.
      Plaintiffs,                                   }      2:21-cv-1002-AMM
vs.                                                 }
                                                    }
CITY OF BIRMINGHAM and                              }
ARIC MITCHELL                                       }
                                                    }
      Defendants.                                   }


                      DEFENDANTS’ TRIAL EXHIBITS

       The following exhibits were admitted at the jury trial in this matter. They
are videos marked as Defendants’ Exhibits 2, 4, and 5. These videos are saved to
a thumb drive and are conventionally filed in the court’s paper file, in the clerk’s
office.

      This 31st day of January, 2024.


                                              ___s/________________________
                                              F. Sherbert, Deputy Clerk
